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                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS


JEFFREY D. SUMMERS
                  Plaintiff(s)

                        v.                                       CIVIL ACTION NO.15-13358-DJC


CITY OF FITCHBURG, ET AL
                   Defendant(s)


                                           JUDGMENT IN A CIVIL CASE

CASPER, D.J.



G          Jury Verdict. This action came before the court for a trial by jury. The issues have been tried and the jury
           has rendered its verdict.


x          Decision by the Court. This action came to hearing before the Court. The issues have been heard and a
           decision has been rendered.

           IT IS ORDERED AND ADJUDGED

           Judgment for the defendants.




                                                                 Robert M. Farrell, Clerk


Dated:       June 27, 2018                                                  /s/ Lisa M. Hourihan
                                                                 ( By ) Deputy Clerk


NOTE: The post judgment interest rate effective this date is       %.


(judgciv.frm - 10/96)                                                                        [jgm.]
